                                    UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
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                                                                   www.flsb.uscourts.gov
                                                       CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                                    Original Plan
                                                                          Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                              ■   7th                                     Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

     DEBTOR: Marco Barrios                                     JOINT DEBTOR: Maria Barrios                          CASE NO.: 20-19836-AJC
     SS#: xxx-xx- 9286                                            SS#: xxx-xx-8032
     I.          NOTICES
                 To Debtors:            Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                        modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                        Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                        the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:          Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                        be reduced, modified or eliminated.
                 To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                     on each line listed below in this section to state whether the plan includes any of the following:
       The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                    ■   Included                Not included
       partial payment or no payment at all to the secured creditor
       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                        Included            ■   Not included
       out in Section III
       Nonstandard provisions, set out in Section IX                                                                ■   Included                Not included
    II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

                A.       MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.   $2,745.04              for months    1    to 40 ;

                        2.   $11,780.66             for months 41 to 41 ;

                B. DEBTOR(S)' ATTORNEY'S FEE:                                                NONE        PRO BONO
             Total Fees:                $1,050.00           Total Paid:             $1,050.00          Balance Due:            $0.00
             Payable               $0.00            /month (Months 0       to 0 )
             Allowed fees under LR 2016-l(B)(2) are itemized below:
             Jose A. Blanco, P.A. $525 Motion to Modify

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
             Total Fees:                $7,625.00           Total Paid:             $1,995.00          Balance Due:          $5,630.00
             Payable              $140.75           /month (Months 1       to 40 )
             Allowed fees under LR 2016-l(B)(2) are itemized below:
             Robert Sanchez, P.A. $7,625.00

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.        TREATMENT OF SECURED CLAIMS                               NONE
                A. SECURED CLAIMS:                      NONE
                [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
             1. Creditor: Specialized Loan Servicing, LLC [POC# 12-2]
                  Address: 6200 S. Quebec Street                  Arrearage/ Payoff on Petition Date   $13,012.82


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                                                                        Debtor(s): Marco Barrios, Maria Barrios                  Case number: 20-19836-AJC
                        Greenwood Village, CO                Arrears Payment (Cure)                             $203.40       /month (Months    1    to 40 )
                        80111 per ECF#26
                                                             Arrears Payment (Cure)                            $4,876.99      /month (Months 41      to 41 )
         Last 4 Digits of
                                                             Regular Payment (Maintain)                        $2,069.87      /month (Months    1    to 40 )
         Account No.:                 6149
                                                             Regular Payment (Maintain)                        $2,722.63      /month (Months 41      to 41 )

        Other:

         ■ Real Property                                                            Check one below for Real Property:
                 ■ Principal Residence                                               ■ Escrow is included in the regular payments

                    Other Real Property                                                    The debtor(s) will pay     taxes       insurance directly
         Address of Collateral:
         466 E 56 Street, Hialeah, FL 33013

             Personal Property/Vehicle
         Description of Collateral:
            B. VALUATION OF COLLATERAL:                            NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.
                   1. REAL PROPERTY:             ■   NONE
                   2. VEHICLES(S):               NONE

         1. Creditor: Capital One Auto Finance a            Value of Collateral:                  $3,000.00                        Payment
                      division of Capital One, NA
                                                            Amount of Creditor's Lien:            $9,057.18     Total paid in plan:            $3,417.48
                      c/o AIS Portfolio Services,
                      LP
              Address: POB 4360                             Interest Rate:       5.25%                               $57.63      /month (Months      1 to 40 )
                       Houston, TX 77210                                                                            $1,112.48    /month (Months 41 to 41 )
         Last 4 Digits of Account No.: 9719
         VIN: WDDDJ75X66A071628
         Description of Collateral:
         2006 Mercedes-Benz CLS500 Sedan


         Check one below:
            Claim incurred 910 days or more pre-
          ■
            petition
            Claim incurred less than 910 days pre-
            petition
                   3. PERSONAL PROPERTY: ■ NONE
            C. LIEN AVOIDANCE                ■   NONE
            D. SURRENDER OF COLLATERAL:                        ■    NONE
            E. DIRECT PAYMENTS                       NONE
            Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                        Name of Creditor                Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)

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                           Name of Creditor                Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                           United Consumer Financial       5950                         Household Item
                        1. Services

IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                             ■ NONE

V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                             NONE
               A. Pay            $97.23        /month (Months      1     to 40 )
                     Pay        $1,890.49      /month (Months 41         to 41 )
                     Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.          If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                    ■   NONE
VI.         STUDENT LOAN PROGRAM                       ■   NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                      ■   NONE
VIII.       INCOME TAX RETURNS AND REFUNDS:
                    ■     The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                          annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                          Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                          provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                          increases by more than 3% over the previous year’s income. [Miami cases]
IX.         NON-STANDARD PLAN PROVISIONS                 NONE
            ■ Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                 This 3AP begins the Debtors' Cure and Maintain Plan for POC#l2-1 in month 4 (January) since the Debtors made the first three
                 Regular Payments (Maintain) post-petition directly to the lender. The Cure portion of the plan begins from month 1. The
                 Maintain Regular Payments begin on month 4.
                    Mortgage Modification Mediation


                         PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                              Debtor                                                               Joint Debtor
  Marco Barrios                                                   Date                Maria Barrios                                       Date



  /s/ Jose A. Blanco, Esq.                         March 21, 2024
                                                             Date
     Attorney with permission to sign on
     Debtor(s)' behalf who certifies that
      the contents of the plan have been
        reviewed and approved by the
                 Debtor(s).1

   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph IX.




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1This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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